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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

CIVIL STANDING ORDER FOR
MAGISTRATE JUDGE JACQUELINE SCOTT CORLEY
(Revised February 23, 2016)

Parties shall comply with the procedures in the Federal Rules of Civil or Criminal
Procedure, the Northern District of California’s Local Rules and General Orders, and this
standing order, all of which are available at httpi//Www.cand.uscourts.gov. The parties" failure
to comply with any of the rules or orders may be grounds for monetary sanctions, dismissal,
entry of judgment, or other appropriate sanctions.

CALENDAR DATES

Civil motions are heard on Thursday at 9:00 a.m. During the months when Judge Corley
is on criminal duty, the Court may move any Thursday 9:00 a.m. motions to Thursday
afternoon.

Civil case management and status conferences are heard on Thursdays at 1230 p.m.
Pretrial conferences are at 2:00 p.m.

SCHEDULING

Parties should notice motions (other than discovery motions) pursuant to the local rules.
Parties need not reserve a hearing date, but should confirm the Court’s availability at
http://www.cand.uscourts.gov. For scheduling questions, please contact Judge Corley’s
Courtroom Deputy, Ada Means at (415) 522-2015 or isecrd@cand.uscourts.gov.

Parties seeking to appear telephonically at a hearing or case management conference
must submit a written request to do so at least three days before the scheduled hearing.

CONSENT CASES

In civil cases that are randomly assigned to Judge Corley for all purposes, the parties '
should file their written consent to the assignment of a United States Magistrate Judge for
all purposes, or their written declination of consent, as soon as possible. If` a party files a
dispositive motion (such as a motion to dismiss or a motion for remand), the moving
party must file the consent or declination simultaneously with the motion.

In no event shall the consent or declination be filed later than the deadlines specified in
Civil Local Rule 73-l(a)(1) and (2).

CHAMBERS COPIES AND PROPOSED ORDERS

Under Civil Local Rule 5-l(b) parties must lodge an extra paper copy of any filing and

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mark it as a copy for “Chambers.” This includes chambers copies of Case Management
Conference Statements. However, the parties do not need to submit chambers copies for
stipulations, pro hac vice applications, and similar non-motion filings. Parties only need
to submit chambers copies of other documents that (l) are related to a pending motion
and/or discovery dispute an_d (2) exceed ten pages when combined. (For example, if a
motion is 8 pages and a supportive declaration is 5 pages, chambers copies are required.
However, if there is a ZO-page stipulation and proposed order, no chambers copy is
required.)

All chambers copies should be double-sided (when possible), three-hole punched along
the left side of the page, and should bear the ECF filing “stamp” (case number, docket
number, date, and ECF page number) along the top of the page. All exhibits shall be
clearly delineated with labels along the right side. If the filing includes exhibits over
two-inches thick, the parties shall place the chambers copy in a binder. In a case subject
to electronic filing, chambers copies must be submitted by the close of the next court day
following the day the papers are filed electronically. The chambers copies shall be
marked “Chambers Copy” and submitted to the Clerk’s Office, in an envelope marked
with “Magistrate Judge Corley,” the case number, and “Chambers Copy.”

Any stipulation or proposed order in a case subject to e-filing should, in addition to being
e-filed, be submitted by email to jscpo@cand.uscourts.gov as a Word processing `
attachment on the same day the document is e-filed. This email address should only be
used for this stated purpose unless otherwise directed by the Court.

CIVIL CASE MANAGEMENT

No later than seven (7) days before the initial case management or status conference, the
parties shall file a Joint Case Management Statement in full compliance with the
Northern District of California’s general standing order for civil cases entitled
“Contents of Joint Case Management Statement,” a copy of which is attached

hereto.

Parties may not continue a case management, status, or pretrial conference without
Court approval. Each party shall be represented in person at the Case Management
Conference by counsel (or a party if in pro se), who shall be (l) prepared to address all
of the matters referred to in the Northern District of California’s general standing order
on Joint Case Management Statements; and (2) have full authority to enter stipulations
and make admissions pursuant to that order. Perrnission for a party to attend by
telephone may be granted, in the Court’s discretion, upon written request made in
advance of the hearing if` the Court determines that good cause exists to excuse personal
attendance, and that personal attendance is not needed in order to have an effective
conference The facts establishing good cause must be set forth in the request.

All hearings, case management, status and pretrial conferences are audio recorded; court

reporters are usually not provided. Parties may request a copy of either the audio
recording (on CD) or a transcription of the audio recording or the court reporter’s

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transcript if applicable by following the procedures set forth at
http://cand.uscourts.gov/transcripts.

Amended Pleadings t
If a party files an amended pleading, they shall concurrently file a redlined or highlighted
version comparing the amended pleading to the prior operative pleading.

Documents filed on ECF

All exhibits to motions and/or discovery disputes should be separately filed on ECF (F or
example, if the motion is Docket No. 30, and the declaration with 10 exhibits is Docket
No. 31, Exhibit A would be filed as Docket No. 31~1, Exhibit B would be Docket No. 31-
2, and so on). All exhibits shall also be filed in a searchable OCR format where possible

Motions to File Under Seal .

Parties are reminded that court proceedings are presumptively public, and no document
shall be filed under seal without request for a court order that is narrowly tailored to
cover only the document, the particular portion of the document, or category of
documents for which good cause exists for filing under seal. If a party wishes to file a
document under seal, that party shall first file an administrative motion to seal in
accordance with Local Rule 79-5.

The parties need not file paper copies of the administrative motion to seal With the clerk’s
office. The parties only need to submit chambers copies of the administrative motion to
seal and related filings. Chambers copies should include all material _ both redacted
and unredacted _ so that the chambers staff does not have to re-assemble the whole brief
or declaration, although chambers copies should clearly delineate which portions are
confidential (via highlighting). Chambers copies with confidential materials will be
handled like all other chambers copies of materials without special restriction, and will
typically be recycled, not shredded. If the parties wish to dispose of documents filed
under seal in some other way, they must expressly indicate as much in their sealing
motion and make arrangements to pick up the documents upon disposition of the
motion.

CIVIL DISCOVERY

Parties should be mindful of the December l, 2015 amendments to the Federal Rules of
Civil Procedure, and in particular, the directive in Rule l that the Rules “should be
construed, administered, and employed by the court and the parties to secure the just,
speedy, and inexpensive determination of every action and proceeding”, and the
proportionality requirements for discovery under Rule 26(b)(l).

Discovery disputes referred from a district court judge and those which occur in cases

which are assigned to Judge Corley for all purposes through consent of the parties shall
follow the same procedures as set forth below:

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Upon referral from a District Judge or upon the development of an impasse with respect
to discovery in a pending case assigned to Judge Corley, the parties must first meet and
confer. That is, counsel for each party shall meet and confer in person, or, if counsel are
located outside the Bay Area, by telephone, to attempt to resolve their dispute informally.
A mere exchange of letters, e-mails, telephone calls or facsimile transmissions does not
satisfy the meet and confer requirement

If the parties are unable to resolve their dispute informally after a good faith
effort, including meet and confer efforts conducted by lead counsel, the parties
have two options:

l)

2)

If the dispute is straightforward, or the parties believe some initial
informal guidance from the Court may help the parties resolve their
dispute without the need for briefing, the parties may contact Judge
Corley’s Courtroom Deputy, Ada Means at (415) 522-2015 to arrange
a telephonic conference with Judge Corley. Judge Corley generally
reserves time on Thursday afternoons from 2:00 p.m. - 4:00 p.m. for
hearing such matters

For more complex disputes, the parties shall prepare a joint statement
of not more than five pages (lZ-point or greater font) stating the nature
and status of the dispute and attesting to their good faith meet and
confer efforts. lssue-by-issue, the joint letter shall describe each
unresolved issue, summarize each party’s position with appropriate
legal authority, and provide each party’s final proposed compromise
before addressing the next issue. It is preferable that the parties file a
separate letter for each dispute. Where necessary, the parties may
submit supporting declarations and documentation of up to 12 pages.
Parties are expected to plan for and cooperate in preparing the joint
letter so that each side has adequate time to address the arguments

The parties are strongly encouraged to submit a joint statement, but in
the rare instances when a joint statement is not possible, each side may
submit a statement of not more than two pages (lZ-point font or
greater).

The joint statement or individual statements shall be e-filed (unless the
case is exempt from e-filing requirements) and chambers copies
submitted as required herein. Whether joint or individual, the
statement must be filed under the Civil Events category of “Motions
and Related Filings > Motions - General > Discovery Letter Brief.”

Upon review of the parties’ submission[s], the Court will advise the
parties of how the Court intends to proceed. The Court may issue a
ruling or schedule a telephone conference or in person conference with
the parties, and at such conference may issue rulings, order more

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formal briefing, or set further hearing dates. The Court may also order
the parties to come to the courthouse to meet and confer in good faith.

Protective Orders

If parties believe a protective order is necessary, they shall, where practicable, use one of
the model stipulated protective orders (available at
http://cand.uscourts.gov/stipprotectorder). If the parties’ proposed protective offer differs
materially from the model protective order, the parties shall file a statement explaining
each modification to the model order, along with a redline version comparing the
proposed protective order with the model order.

Privilege Logs

If a party withholds material as privileged, see Fed. R. Civ. P. 26(b)(5) and 45(d)(2)(A),
it must produce a privilege log as quickly as possible, but no later than fourteen days after
its disclosures or discovery responses are due, unless the parties stipulate to or the Court
sets another date, Privilege logs must contain the following: (a) the subject matter or
general nature of the document (without disclosing its contents); (b) the identity and
position of its author; (c) the date it was communicated; (d) the identity and position of
all addressees and recipients of the communication; (e) the document’s present location;
and (f) the specific privilege and a brief summary of any supporting facts. Failure to
furnish this information promptly may be deemed a waiver of the privilege or protection

UNREPRESENTED (PRO SE) PARTIES

Parties representing themselves should visit the link titled “Representing Yourself” on the
Court’s homepage, www.cand.uscourts.gov. The link discusses the Court’s “Legal Help
Center” which provides free assistance at the San Francisco, Oakland, and San lose
courthouses for unrepresented parties. Parties may visit the Legal I-Ielp Centers at the
San Francisco and Oakland courthouses or call (415)-782-8982 to make an appointment
Parties can make an appointment to visit the San Jose Legal Help Center by calling 408-
297-1480.

IT IS SO ORDERED.

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United States Magistrate Judge

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STANDING ORDER FOR ALL ]UDGES
OF THE NORTHERN DISTRICT OF CALIFORNIA

CONTENTS OF ]OINT CASE MANAGEMENT STATEMENT

 

All judges of the Northern District of California require identical information in Joint Case
Management Statements filed pursuant to Civil Local Rule 16-9. The parties must include the
following information in their Statement Which, except in unusually complex cases, should not
exceed ten pages:

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10.

11.

Iurisdiction and Service: The basis for the court's subject matter jurisdiction over
plaintiffs claims and defendant’s counterclaims, Whether any issues exist regarding
personal jurisdiction or venue, Whether any parties remain to be served, and, if any
parties remain to be served, a proposed deadline for service.

Facts: A brief chronology of the facts and a statement of the principal factual issues in
dispute

Legal Issues; A brief statement, Without extended legal argument, of the disputed
points of law, including reference to specific statutes and decisions.

Motions: All prior and pending motions, their current Status, and any anticipated
motions.

Amendment of Pleadings: The extent to Which parties, claims, or defenses are expected
to be added or dismissed and a proposed deadline for amending the pleadings

Evidence Preservation: A brief report certifying that the parties have reviewed the
Guidelines Relating to the Discovery of Electronically Stored Information (”ESI
Guidelines”), and confirming that the parties have met and conferred pursuant to Fed.
R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence
relevant to the issues reasonably evident in this action, See 1551 Guidelines 2.01 and 2.02,
and Checklist for ESI Meet and Confer.

Disclosures: Whether there has been full and timely compliance With the initial
disclosure requirements of Fed. R. Civ. P. 26, and al description of the disclosures made.

Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any
proposed limitations or modifications of the discovery rules, a brief report on Whether
the parties have considered entering into a stipulated e-discovery order, a proposed
discovery plan pursuant to Fed. R. Civ. P. 26(f), and any identified discovery disputes

Class Actions: If a class action, a proposal for how and When the class Will be certified,
and Whether all attorneys of record for the parties have reviewed the Procedural
Guidance for Class Action Settlements.

Related Cases: Any related cases or proceedings pending before another judge of this
court, or before another court or administrative body.

Relief: All relief sought through complaint or counterclaim, including the amount of
any damages sought and a description of the bases on Which damages are calculated,. In
addition, any party from Whom damages are sought must describe the bases on which
it contends damages should be calculated if liability is established

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Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR
plan for the case, including‘compliance With ADR L.R. 3-5 and a description of key
discovery or motions necessary to position the parties to negotiate a resolution.

Consent to Magistrate I@ge For All Purposes: Whether all parties will consent to have
a magistrate judge conduct all further proceedings including trial and entry of
judgment _ Yes _ No

Other References: Whether the case is suitable for reference to binding arbitration, a
special master, or the ]udicial Panel on Multidistrict Litigation.

Narrowing of Issues: Issues that can be narrowed by agreement or by motion,
suggestions to expedite the presentation of evidence at trial (e.g., through summaries or
stipulated facts), and any request to bifurcate issues, claims, or defenses

Expedited Trial Procedure: Whether this is the type of case that can be handled under
the Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties
agree, they shall instead of this Statement, file an executed Agreement for Expedited
Trial and a ]oint Expedited Case Management Statement, in accordance with General
Order No. 64 Attachrnents B and D.

Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of
dispositive motions, pretrial conference and trial.

Trial: Whether the case Will be tried to a jury or to the court and the expected length of
the trial.

Disclosure of Non-partv lnterested Entities or Persons: Whether each party has filed the
”Certification of lnterested Entities or Persons” required by Civil Local Rule 3-15. In
addition, each party must restate in the case management statement the contents of its
certification by identifying any persons,,firms, partnerships corporations (including
parent corporations) or other entities known by the party to have either: (i) a financial
interest in the subject matter in controversy or in a party to the proceeding; or (ii) any
other kind of interest that could be substantially affected by the outcome of the
proceeding ln any proposed class, collective, or representative action, the required
disclosure includes any person or entity that is funding the prosecution of any claim or
counterclaim, `

Professional Conduct: Whether all attorneys of record for the parties have reviewed the
Guidelines for Professional Conduct for the Northern District of California.

Such other matters as may facilitate the just, speedy and inexpensive disposition of this
matter.

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